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                                                                                  MAR 2 1 2017

                            IN T H E UNITED STATES DISTRICT C O
                           FOR T H E NORTHERN D I S T R I C T OF
                                        ATLANTA DIVISION

             ALBERT ESPINAL,                                MOTION TO VACATE
                 Movant,                                    28 U.S.C. § 2255

                   V.                                       CRIMINAL NO.
                                                            1:11-CR-0060-ODE-RGV-4
             UNITED STATES OF AMERICA,
                 Respondent.                                CIVIL ACTION NO.
                                                            1:16-CV-3920-ODE-RGV

                                                   ORDER

                   This matter is currently before the Court on Albert Espinal's objections [Doc.

             397] to the Final Report and Recommendation ("R&R") issued by Magistrate Judge

             Russell G. Vineyard [Doc. 395], which recommends thatEspinal's 28 U.S.C. § 2255

             motion, as amended, be denied. Espinal has also filed a motion to compel the

             government to provide him a copy of its response to Espinal's supporting

             memorandum and his motion to amend and for an extension of time to file a reply to

             that response. [Doc. 398]. Because the Court finds that further briefing by Espinal

             is not necessary to resolve the issues presented in this case, Espinal's motion [Doc.

             398] is DENIED.

                   In reviewing a Magistrate Judge's Report and Recommendation, the district

             court "shall make a de novo determination of those portions of the report or specified




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proposed findings or recommendations to wliicli objection is made." 28 U.S.C.

§ 636(b)(1). "Parties filing objections to a magistrate's report and recommendation

must specificaiiy identify those findings objected to. Frivolous, conclusive, or general

objections need not be considered by the district court." United States v. Schultz, 565

F.3dl353, 1361 ( l l t h Cir. 2009) tper curiam) Tquoting Marsden v. Moore. 847F.2d

1536, 1548 (11th Cir. 1988)) (intemal quotation marks omitted). Absent objection,

the district judge "may accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate judge," 28 U.S.C. § 636(b)(1), and "need

only satisfy itself that there is no clear error on the face of the record in order to accept

the recommendation," Fed. R. Civ. P. 72, advisory committee note, 1983 Addition,

Subdivision (b). Further, "the district court has broad discretion in reviewing a

magistrate judge's report and recommendation" - it "does not abuse its discretion by

considering an argument that was not presented to the magistrate judge" and "has

discretion to decline to consider a party's argument when that argument was not first

presented to the magistrate judge." Williams v. McNeil 557 F.3d 1287, 1290-92

( l l t h C i r . 2009).

         A federal grand jury in the Northern District of Georgia returned a twelve-count

third superseding indictment against Espinal and five co-defendants charging them

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with various offenses following a series of violent robberies of drug dealers. [Doc.

174]. Espinal pleaded not guilty and proceeded to a thirteen-day jury trial. [Docs.

206; 208; 211-12; 216-18; 222-23; 225-29; 318-23; 325-29; 334]. The jury found

Espinal guilty on all counts [Doc. 236], and the Court imposed a total sentence of 840

months of imprisonment [Doc. 273]. On January 5, 2015, the United States Court of

Appeals for the Eleventh Circuit affirmed Espinal's convictions and sentence. United

States V . Reyes, 596 F. App'x 800, 804 (11th Cir. 2015). On October 19, 2015, the

United States Supreme Court denied Espinal's petition for a writ of certiorari. Espinal

V . United States. 136 S. Ct. 376 (2015).

      Espinal timely filed this pro se § 2255 motion, arguing that he received

ineffective assistance of counsel at all stages ofthe proceedings when counsel failed

to: (l)(a) apprise him of "the relevant circumstances and likely consequences of

pleading guilty as opposed to proceeding to trial"; (l)(b) "[c]onduct an adequate and

independent pretrial investigation" based on unspecified "leads" that Espinal asked

counsel to pursue; (l)(c) "[njegotiate a favorable plea agreemenf; (2)(a) inform

Espinal of trial strategy, affirmative defenses, and theory of the defense; (2)(b) allow

Espinal to participate in his defense; (2)(c) subpoena and call defense witnesses;

(2)(d) properly cross-examine govemment trial witnesses; (3)(a) review, discuss, and

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             explain the presentence report ("PSR") to Espinal prior to sentencing; (3)(b) file

             substantive objections to the PSR; (3)(c) submit mitigating evidence during

             sentencing; (3)(d) object to Espinal's sentence on substantive reasonableness grounds;

             (4)(a) communicate and inform Espinal about his appeal issues; (4)(b) allow Espinal

             to participate in his direct appeal; and (4)(c) raise unidentified "stronger available

             issues" on appeal. [Doc. 383 at 4-8, 12]. The government responds that all of

             Espinal's grounds for relief lack merit. [Doc. 385 at 10-31].

                   On October 21, 2016, Espinal signed a supporting memorandum, adding that

             counsel failed to: (l)(d) file substantive pretrial motions; (l)(e) provide Espinal with

             the government's discovery; (2)(e) obj ect to a hearsay statement made by Ada Cordero

             and another statement made by Gabriel Payamps; (2)(f) ask for a limiting instruction

             regarding his co-defendants' guilty pleas; and (2)(g) renew objections to the denial of

             a continuance. [Doc. 387 at 18-28, 33]. As to counsel's alleged ineffectiveness on

             appeal, Espinal relies on the brevity of the Eleventh Circuh's opinion and further

             asserts that counsel should have argued that improper hearsay testimony was admitted

             at trial. [ I d at 30-32]. Additionally, on October 19, 2016, Espinal signed a motion

             to amend his § 2255 motion to add the following grounds for relief (5) counsel was

             ineffective for failing to object at trial and/or argue on direct appeal that the Court's

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jury instruction on tlie firearm offenses charged in Counts Eight and Twelve

constructively amended the indictment; and (6) counsel was further ineffective for

failing to argue on direct appeal that the evidence at trial deviated from the facts

contained in the indictment as to Count Nine and thus, created a variance. [Doc. 388 .

The government responds that Espinal's new claims are both untimely and lack merit.

[Doc. 394].

      The Magistrate Judge granted Espinal's motion to amend, but found that the

new claims presented in Espinal's supporting memorandum, namely grounds (l)(d),

(l)(e), (2)(e), (2)(f), and (2)(g), were time barred. [Doc. 395 at 7]. The Magistrate

Judge then determined that all of Espinal's grounds for relief, including his untimely

claims, lacked merit. [Id at 10-21]. Espinal states that he objects to the Magistrate

Judge's factual and legal findings as to his plea negotiations, trial strategy, sentencing,

and appeal claims and that he also objects to the recommendation to deny him a

certificate of appealability. [Doc. 397]. Espinal, however, presents no argument to

support his objections. [Id]. This is precisely the type of "conclusive[] or general

objections" that this Court need not consider. Schultz, 565 F.3d at 1361.

       After careful consideration, the Court finds that the Magistrate Judge's factual

and legal conclusions were correct and that Espinal's objections have no merit.

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             Accordingly, the Court ADOPTS the R&R [Doc. 395] as the opinion and order ofthe

             Court, DENIES this § 2255 motion [Doc. 383], as amended [Docs. 387-88], and

             D E C L I N E S to issue a certificate of appealability. The Clerk is D I R E C T E D to close

             this case.

                    SO ORDERED, this                   day of March, 2017.


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                                                 oklNDA D. E V A N S ~ ^
                                                 UNITED STATES DISTRICT JUDGE




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